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4                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
5
6      UNITED STATES OF AMERICA,                )
                                                )     CR-09-015-EFS-15
7                        Plaintiff,             )
                                                )     ORDER DENYING MOTION TO
8      v.                                       )     RECONSIDER ORDER OF
                                                )     DETENTION AND FOR AN ORDER
9      TUAN H. CHAU,                            )     SETTING CONDITIONS OF
                                                )     RELEASE (CT. REC. 715)
10                       Defendant.             )
                                                )
11
            At the May 22, 2009 hearing to address Defendant’s Motion to
12
      Reconsider Order of Detention (Ct. Rec. 715), Attorney Gerald R.
13
      Smith appeared with defendant Tuan H. Chau; Assistant United States
14
      Attorney Earl Hicks represented the United States.                           Court
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      interpreter Sylva Lamb was found to be qualified as language
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      skilled; her native language is Vietnamese.                    Appearing in the
17
      courtroom in support of defendant was defendant’s father.                     Also
18
      present was Nga Do who is the protected party in a Domestic Violence
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      No-Contact Order entered against the defendant in Municipal Court
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      for the City of Spokane.
21
            The parties made factual proffers and the matter was taken
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      under advisement.        As represented at the hearing, on June 10, 2009,
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      defendant submitted a copy of the no-contact order which was not
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      available on the date of the hearing.            The no-contact order remains
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      in effect. Defendant shall redact the personal identifiers on the
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      order and file the document; alternatively defendant shall provide
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      a copy of the no-contact order to the United States if it has not
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      previously been served. If the document is not filed, the defendant

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1     shall retain a copy for use as necessary for purposes of an appeal,
2     if any, of this order.
3           At this time, Ms. Do no longer lives at defendant’s father home
4     and this residence is available for Mr. Chau to reside if he is
5     released.      Defendant represents he would participate in anger
6     management counseling and agree to home detention (defendant, in
7     2004, also was charged with assault of a co-worker when he allegedly
8     struck the co-worker with a board and also swung the board at the
9     co-worker’s head).       The pending no-contact order resulted from an
10    incident in which defendant allegedly entered Ms. Do’s place of
11    employment, yelled at her loudly, grabbed her by the throat, and
12    slapped her face, knocking her to the floor.                      At this time the
13    undersigned concludes there is insufficient structure in the release
14    plan to reasonable assure that Mr. Chau is not a risk to the
15    community.     Accordingly, the motion (Ct. Rec. 715)                is DENIED.
16          There is a pending state arrest warrant which the undersigned
17    finds is collateral to the captioned matter.                 For purposes of the
18    bail issues in the captioned matter, defense counsel may make a
19    limited appearance in that case, provided such appearance is in
20    compliance with the state court rules.
21          IT IS ORDERED:
22          1.     Defendant shall be held in detention pending disposition
23    of   this   case   or   until   further     order      of   the    court.   Should
24    circumstances change, Defendant may petition the court to reopen the
25    detention issue by written motion to amend and request for hearing,
26    served upon the United States Attorney.
27          2.     Defendant shall remain in the custody of the U.S. Marshal
28    pending further Order of the court.


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1           3.    If the Defendant seeks review of this Order pursuant to
2     18 U.S.C. § 3145(b), attorney for Defendant shall file a written
3     motion for revocation or amendment of this Order within ten (10)
4     days before the district judge to whom this case is assigned and
5     note it for hearing at the earliest possible date. Both parties are
6     responsible to ensure the motion is determined promptly.
7           DATED June 10, 2009.
8
                                    S/ CYNTHIA IMBROGNO
9                             UNITED STATES MAGISTRATE JUDGE
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